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   ESCAPE ARTISTS, INC. (erroneously sued as
10 ESCAPE ARTISTS LLC); DOLPHIN BLACK
   PRODUCTIONS; M. NIGHT SHYAMALAN;
11 TONY BASGALLOP; ASHWIN RAJAN;
   JASON BLUMENTHAL; TODD BLACK;
12 STEVE TISCH
13                                      UNITED STATES DISTRICT COURT
14                                CENTRAL DISTRICT OF CALIFORNIA
15
16 FRANCESCA GREGORINI,                                Case No. 2:20-cv-00406-JFW-JC
17                                      Plaintiff,     DEFENDANTS’ NOTICE OF
                                                       MOTION AND MOTION TO
18            vs.                                      DISMISS PLAINTIFF’S
                                                       COMPLAINT
19 APPLE INC., a California corporation;
   M. NIGHT SHYAMALAN, an                              Date:    March 23, 2020
20 individual, BLINDING EDGE                           Time:    1:30 p.m.
   PICTURES, INC., a Pennsylvania                      Crtrm:   7A
21 corporation; UNCLE GEORGE
   PRODUCTIONS, a Pennsylvania
22 corporate; ESCAPE ARTISTS LLC, a
   California limited liability company;
23 DOLPHIN BLACK PRODUCTIONS, a
   California corporation; TONY
24 BASGALLOP, an individual; ASHWIN
   RAJAN, an individual; JASON
25 BLUMENTHAL, an individual; TODD
   BLACK, an individual; STEVE TISCH,
26 an individual; and DOES 1-10, inclusive,
27                                      Defendants.
28

     DEFENDANTS’ MOTION TO DISMISS COMPLAINT
     4838-2051-0130v.8 0113237-000003
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  1   TO PLAINTIFF AND HER ATTORNEYS OF RECORD:
  2            PLEASE TAKE NOTICE that on March 23, 2020, at 1:30 p.m. or as soon as
  3   may be heard in Courtroom 7A of the United States District Court for the Central
  4   District of California, First Street Courthouse, 350 West First Street, Los Angeles,
  5   California 90012, defendants Blinding Edge Pictures, Inc., Uncle George
  6   Productions, LLC, Apple Inc., Escape Artists, Inc. (erroneously sued as Escape
  7   Artists LLC), Dolphin Black Productions, M. Night Shyamalan, Tony Basgallop,
  8   Ashwin Rajan, Jason Blumenthal, Todd Black, and Steve Tisch (collectively,
  9   “Defendants”) will and hereby do move this Court for an order dismissing with
 10   prejudice the complaint filed by plaintiff Francesca Gregorini (“Plaintiff”).
 11            This motion is made pursuant to Federal Rule of Civil Procedure 12(b)(6) on
 12   the grounds that Plaintiff’s complaint fails to state a claim. Her first cause of action
 13   for copyright infringement fails because there is no substantial similarity of
 14   protected expression between the works at issue. Because her claim for direct
 15   copyright infringement fails, so too does her second cause of action for contributory
 16   and vicarious copyright infringement.
 17            This motion is based on this notice of motion, the memorandum of points and
 18   authorities, the request for judicial notice, the declaration of Cydney Swofford
 19   Freeman, the notice of lodging with exhibits, and all other matters of which this
 20   Court may take judicial notice, the pleadings, files, and records in this action, and
 21   on any argument heard by this Court.
 22            This motion is made following the conference of counsel pursuant to L.R. 7-3
 23   which took place on February 11, 2020. See Dkt. 18.
 24

 25   DATED: February 18, 2020                  DAVIS WRIGHT TREMAINE LLP
 26                                             By:     /s/ Nicolas A. Jampol
                                                               Nicolas A. Jampol
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                                                     Attorneys for Defendants
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  1                      MEMORANDUM OF POINTS AND AUTHORITIES
  2                                         INTRODUCTION
  3            Plaintiff Francesca Gregorini’s lawsuit is another example of “that
  4 obsessive conviction, so common among authors and composers, that all similarities
  5 between their works and any others which appear later must inevitably be ascribed
  6 to plagiarism.” Litchfield v. Spielberg, 736 F.2d 1352, 1358 (9th Cir. 1984)
  7 (quoting Dellar v. Samuel Goldwyn, Inc., 150 F.2d 612, 613 (2d Cir. 1945)). This
  8 truism is particularly applicable to Plaintiff’s attempt to claim ownership over
  9 unprotectable ideas, including a grieving mother who believes a therapy doll is her
10 deceased child or “white, sophisticated, and privileged” parents hiring a nanny for
11 their “well-put-together home.” These concepts are taken from real life and are
12 found in countless movies, television programs, and other works.
13             While Plaintiff’s film The Truth About Emanuel (“Emanuel”) and
14 Defendants’ television series Servant both employ aspects of these unprotectable
15 concepts, the similarities end there. In Emanuel, a quintessential American teenager
16 struggling to cope with the loss of her mother and her next-door neighbor struggling
17 to cope with the loss of her baby together experience the catharsis of acceptance. In
18 Servant, a deeply religious self-flagellating young woman leaves her cult to be a
19 nanny for a family that she has targeted, and seemingly transforms a doll into a real
20 baby while—in the midst of various supernatural events—other characters attempt
21 to find out where the baby and nanny are from. As one character ominously asks in
22 the trailer, “do you know who you welcomed into your home?” See RJN § 1.
23             To divert attention from the fact that Emanuel and Servant tell vastly
24 different stories, Plaintiff has assembled a laundry list of alleged similarities. Many
25 of these alleged similarities flow from unprotectable concepts, while others are
26 ubiquitous in film and television. Plaintiff relies heavily on these common
27 elements, such as the “mystery/danger of a stranger coming to town,” a home with a
28 wooden staircase, “tight shots of characters’ faces,” or, incredibly, ominous music

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  1 used to “signify danger.” Once these elements are disregarded, as they must be,
  2 there is almost no similarity of protectable expression.1
  3            Defendants agree that “anyone who takes the time to view and compare the
  4 works” will reach an “inescapable conclusion” (Compl. ¶ 5), but the conclusion will
  5 be that Emanuel and Servant are not substantially similar. Accordingly, Defendants
  6 respectfully request that this Court dismiss the complaint with prejudice.
  7                                      FACTUAL BACKGROUND
  8 A.         The Truth About Emanuel
  9            Emanuel is an “emotional story about motherhood and daughterhood.”
10 Compl. ¶ 10; Dkt. 13.2 It is told from the point of view of Emanuel, a typical
11 teenager who struggles with the guilt of knowing her mother died giving birth to
12 her, and attempts to coexist with her new stepmother. Most days, she takes the train
13 to her job at a medical supply store, listening to music or sitting with her boyfriend
14 Claude. After a single mother (Linda)—who “bears a striking resemblance” to
15 Emanuel’s deceased mother—moves in next door, Emanuel offers to babysit. See
16 Dkt. 13 (DVD back cover); id. at 7:57. When Emanuel finally meets the “baby,” she
17 is stunned to discover that the child is a doll. Id. at 21:00.
18             Despite this discovery, Emanuel continues to visit Linda (when she is not
19 working or with her family or boyfriend). At first, Emanuel remains uncomfortable
20 with the doll and refuses to help Linda with it, but she later acquiesces. Emanuel
21 begins to pretend the doll is a baby in Linda’s presence, but generally not when
22
23             1
               Plaintiff believes that her lawsuit advances the interests of creators, but just
24    the opposite is true: asserting copyright claims based on unprotectable concepts and
      common elements creates a chilling effect, as the various entities that are needed to
25    produce and distribute a work exercise more caution about new projects that share
26    unprotectable elements or themes with prior works. This results in more roadblocks
      for new creators and jeopardizes the creation of works with new perspectives on
27    unprotectable concepts or new uses of common elements.
             2
28             References to “Dkt. 13” throughout this brief are to the DVD of Emanuel
      that Plaintiff lodged with the Court at Dkt. 13. See also RJN § 1.
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  1 Linda is gone. Emanuel’s affection for Linda grows as she (and the audience)
  2 attempts to figure out why Linda is pretending the doll is a real baby. Emanuel is
  3 protective of Linda and concerned about others discovering the truth, routinely
  4 making excuses as to why others cannot meet the baby. She falls deeper into
  5 Linda’s orbit, until Linda brings home a date (Arthur) who discovers the doll and,
  6 assuming that Emanuel harmed the actual child, calls the police. Dkt. 13 at 1:07:15.
  7            Linda is committed to an institution, and while she is there, her ex-husband
  8 (Thomas) comes to Emanuel’s house to explain that his and Linda’s baby died of an
  9 unknown cause. Dkt. 13 at 1:18:30. Thomas reveals that Linda refused to go to her
10 daughter’s burial and was given a therapy doll. When Linda started to believe the
11 doll was real, Thomas tried to have her committed, but Linda fled. After this
12 discovery, Emanuel decides to free Linda from the institution. She breaks into the
13 facility and takes Linda to Emanuel’s mother’s grave, the first time Emanuel has
14 visited. Id. at 1:21:05. She sobs while she digs a hole at the gravesite, and the two
15 bury the doll next to Emanuel’s mother, each processing her own grief. Id. at
16 1:27:00. The film closes on the pair looking up at the stars, finally headed toward
17 acceptance. Id. at 1:29:50.
18 B.          Servant
19             Servant is a psychological thriller that explores the question asked in the
20 trailer: “do you know who you welcomed into your home?”3 The series portrays a
21 wealthy couple (Dorothy and Sean Turner) that hires a full-time, live-in nanny
22 (Leanne) for their baby son Jericho, which—as the audience already knows from
23 the trailer—is a doll that was given to Dorothy to cope with the loss of their child.
24 See RJN § 1. Jericho died after Dorothy inadvertently left him in her car for hours
25 in the middle of summer, which Dorothy never accepted, instead slipping into
26
27
               3
28            Defendants are lodging Episodes 1-10 of Servant as Exhibits 1-10 to the
      declaration of Cydney Swofford Freeman. See also RJN § 1.
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  1 denial and delusion. From the outset, viewers discover that Leanne is no ordinary
  2 teenager, but instead a creepy, deeply religious, possibly paranormal, self-
  3 flagellating cult member who subsists on cans of tomato soup and creates wooden
  4 crosses (and who, the audience later learns, specifically targeted the Turners).
  5            When the audience first sees Leanne with the doll, she picks it up like a real
  6 baby, sings to it, changes its diaper, and never treats the doll as anything other than
  7 a living child even when nobody is watching and despite Sean telling Leanne she
  8 need not pretend around him. E.g., Ex. 1 at 13:11, 17:17, 29:01. Sean explains to
  9 Leanne that the doll is a “reborn doll” (a real-life therapy doll, RJN § 2), which was
 10 prescribed to Dorothy after Jericho died. But Leanne continues interacting with the
 11 doll just as she would a real baby. She never acknowledges that the doll is not real,
 12 and does not attempt to shield the doll from public view in any way, taking him on
 13 walks and otherwise out in public. E.g., id. at 17:17.
 14            At the end of the first episode, Sean hears crying on the baby monitor and
 15 walks into the nursery to find a real baby. Ex. 1 at 34:08. In the next episode, he
 16 confronts Leanne, who has no reaction to the child being any different. When Sean
 17 asks her whose baby the child is, she calmly replies, “that’s your baby Mr. Turner,
 18 it’s Jericho.” Ex. 2 at 3:17. From there, the seemingly supernatural occurrences
 19 take flight, each tied back to Leanne. For example, as Sean’s relationship with
 20 Leanne sours, he begins to get wooden splinters all over his body, including
 21 unlikely places like his throat, and then loses his ability to taste, smell, and,
 22 eventually, feel. E.g., id. at 10:38, 17:44, 27:10, 28:11. Leanne also seemingly has
 23 the ability to bring the dead back to life, including a cricket, a stray dog, and,
 24 possibly, a human baby. Ex. 1 at 34:08; Ex. 5 at 30:59; Ex. 7 at 28:02.
 25            Wary of Leanne, Dorothy’s protective brother Julian—an abrasive character
 26 with drink always in hand—hires a private investigator (Roscoe) to track down
 27 information about Leanne, who he believes may have kidnapped the baby that is
 28 currently in the Turners’ home. Julian and Roscoe visit Leanne’s hometown and

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  1 discover gravestones belonging to Leanne’s parents, and to Leanne herself. Ex. 3 at
  2 8:31, 10:17, 26:12. This ominous and confusing discovery is explained later in the
  3 season—Leanne’s cult-member aunt (May) and uncle (George) took Leanne in after
  4 a fire killed her parents, and pretended Leanne had died so they could raise her “as
  5 God instructed.” Ex. 10 at 12:15.
  6            At the end of the first season, Aunt May pressures Leanne to rejoin their cult,
  7 telling her that Dorothy is undeserving of the “second chance” Leanne is giving her.
  8 Leanne leaves the Turners, and when Dorothy hurries to the nursery after finding
  9 Leanne’s room empty, she finds the doll instead of the baby. In the last scene of the
 10 season, Dorothy seems to realize that the doll is not her son. Ex. 10 at 31:39.
 11            Apple released the first three episodes to Apple TV+ subscribers on
 12 November 28, 2020, with the remaining seven episodes released weekly after that.
 13 C.         The Complaint
 14            On January 15, 2020, Plaintiff filed her complaint for direct, contributory,
 15 and vicarious copyright infringement. The complaint alleges that three of the ten
 16 episodes of Servant are “strikingly similar” to Emanuel. The works themselves
 17 reveal that there is almost no similarity of protectable expression between them—let
 18 alone substantial similarity. Accordingly, Defendants move to dismiss Plaintiff’s
 19 complaint in its entirety with prejudice.
 20                         THE WORKS ARE NOT SUBSTANTIALLY SIMILAR
 21            To survive a motion to dismiss, Plaintiff must demonstrate the protected
 22 expression in Emanuel and Servant is substantially similar. She cannot. Three
 23 Boys Music Corp. v. Bolton, 212 F.3d 477, 481 (9th Cir. 2000).4
 24
 25
 26            4
            Plaintiffs in copyright actions must also establish that the defendants had
 27 access to the allegedly infringing work. Three Boys Music Corp., 212 F.3d at 481.
 28 Though Defendants dispute that any of them ever had access to Emanuel, solely for
    purposes of this motion, Defendants do not challenge access.
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  1 A.         Lack of Substantial Similarity May Be Decided on a Motion to Dismiss
  2            A court may compare the works at issue in a copyright-infringement claim
  3 and dismiss the claim as a matter of law if they are not substantially similar. As this
  4 Court explained, “[t]here is ample authority for holding that when the copyrighted
  5 work and the alleged infringement are both before the court, capable of examination
  6 and comparison, non-infringement can be determined on a motion to dismiss.”
  7 Gadh v. Spiegel, 2014 WL 1778950, at *3 n.2 (C.D. Cal. Apr. 2, 2014) (Walter, J.)
  8 (quoting Christianson v. West Pub. Co., 149 F.2d 202, 203 (9th Cir. 1945)). See
  9 also Rentmeester v. Nike, 883 F.3d 1111, 1123 (9th Cir. 2018) (same). Indeed, for
 10 nearly 75 years, “courts have followed this rather obvious principle and dismissed
 11 copyright claims that fail from the face of the complaint (and in light of all matters
 12 properly considered on a motion to dismiss).” Gadh, 2014 WL 1778950, at *3 n.2
 13 (citing Zella v. E.W. Scripps Co., 529 F. Supp. 2d 1124, 1130 (C.D. Cal. 2007)).
 14 See also Heusey v. Emmerich, 2015 WL 12765115, at *3 (C.D. Cal. Apr. 9, 2015)
 15 (granting motion to dismiss copyright claim for lack of substantial similarity), aff’d,
 16 692 Fed. Appx. 928 (9th Cir. 2017); Wild v. NBC Universal, 788 F. Supp. 2d 1083,
 17 1097 (C.D. Cal. 2011) (same), aff’d, 513 Fed. Appx. 640 (9th Cir. 2013).
 18            In considering a motion to dismiss, courts may also “consider matters subject
 19 to judicial notice pursuant to Federal Rule of Evidence 201.” Zella, 529 F. Supp. 2d
 20 at 1128. In particular, courts may consider facts “not subject to reasonable dispute,”
 21 Marcus v. ABC Signature Studios, 279 F. Supp. 3d 1056, 1062-1063 (C.D. Cal.
 22 2017), and “generic elements of creative works,” Zella, 529 F. Supp. 2d at 1129.
 23 See also Heusey, 2015 WL 12765115, at *4 (judicial notice of “historical events,
 24 theories commonly-held by historians, and the political atmosphere of the
 25 Elizabethan era”); Fillmore v. Blumhouse, 2017 WL 4708018, at *3 (C.D. Cal.
 26 July 7, 2017) (judicial notice that “[b]ringing the dead back to life” is common in
 27 horror, fantasy, and sci-fi, and that “[d]ream sequences are a common narrative
 28 device in works of fiction”); DuckHole v. NBC Universal, 2013 WL 5797279, at *4

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  1 (C.D. Cal. Sep. 6, 2013) (judicial notice of generic elements of veterinary-themed
  2 sitcoms, like (1) settings of an operating room, exam room, and lobby; (2) pets;
  3 (3) a comedic tone; and (4) romantic relationships).
  4 B.         Courts Must Filter Out Unprotectable Expression
  5            To assess substantial similarity on a motion to dismiss, the Ninth Circuit uses
  6 the “extrinsic test,” which focuses on objective “articulable similarities” between
  7 the works. Zella, 529 F. Supp. 2d at 1133. In comparing the works, “a court must
  8 filter out and disregard the non-protectible elements.” Cavalier v. Random House,
  9 Inc., 297 F.3d 815, 822 (9th Cir. 2002). Indeed, courts “may place no reliance upon
 10 any similarity in expression resulting from unprotectable elements.” Apple v.
 11 Microsoft, 35 F.3d 1435, 1446 (9th Cir. 1994) (emphasis in original). This is
 12 because “similarities derived from the use of common ideas cannot be protected;
 13 otherwise, the first to come up with an idea will corner the market.” Id. at 1443.
 14            Accordingly, courts filter out so-called scenes a faire, or elements that flow
 15 naturally from a basic premise. Cavalier, 297 F.3d at 823. For example, in Benay
 16 v. Warner Bros., 607 F.3d 620 (9th Cir. 2010), the Ninth Circuit disregarded
 17 numerous similarities that flowed from the works’ shared “basic plot premise” of
 18 “an American war veteran [who] travels to Japan in the 1870s to train the Imperial
 19 Army in modern Western warfare.” Id. at 625. See also Shame on You Prods. v.
 20 Banks, 120 F. Supp. 3d 1123, 1151 (C.D. Cal. 2015), aff’d, 690 F. App’x 519 (9th
 21 Cir. 2017) (dismissing copyright claim after disregarding similarities flowing from
 22 the works’ shared premise, such as “[g]etting drunk, spending a ‘one-nighter’ with
 23 someone you just met, waking up disoriented the next morning at the individual’s
 24 house or apartment, and putting on the clothes worn the night before”); Funky Films
 25 v. Time Warner Entm’t, 462 F.3d 1072, 1077-1081 (9th Cir. 2006) (finding that the
 26 plaintiff’s extensive alleged similarities relied “heavily on scenes a faire – not
 27 concrete renderings specific to [plaintiff’s work] – and are, at best, coincidental”).
 28

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  1            Courts also routinely filter out generic or common elements before analyzing
  2 for substantial similarity. See, e.g., Fillmore, 2017 WL 4708018, at *3 (finding that
  3 “[d]ream sequences” and “[b]ringing the dead back to life” are unprotectable);
  4 Shame on You Prods., 120 F. Supp. 3d at 1159 (“outdoor chase on wheels” was too
  5 generic of a concept to be protectable).
  6 C.         The Works’ Protected Expression Is Not Substantially Similar
  7            Once unprotectable elements are filtered out, courts must then compare the
  8 objective, “specific expressive elements” of the works at issue. Kouf v. Walt Disney
  9 Pictures, 16 F.3d 1042, 1045 (9th Cir. 1994). This comparison focuses on
 10 “articulable similarities between the plot, themes, dialogue, mood, setting, pace,
 11 characters, and sequence of events in the two works.” Id.
 12            Importantly, courts repeatedly find that lists of “random similarities scattered
 13 throughout the works” are insufficient to satisfy the extrinsic test because they are
 14 “inherently subjective and unreliable.” See Litchfield, 736 F.2d at 1356. Indeed,
 15 courts have readily disposed of copyright claims even where the list of alleged
 16 similarities is extensive. See, e.g., Bernal v. Paradigm Talent & Lit. Agency, 788 F.
 17 Supp. 2d 1043, 1061, 1063 (C.D. Cal. 2010) (133-page chart with side-by-side
 18 comparisons of the works); Arica Inst. v. Palmer, 970 F.2d 1067, 1073 (2d Cir.
 19 1992) (70-page appendix of similarities). To assess similarity, the law requires a
 20 review of the actual works, not a plaintiff’s characterization of them. See Walker v.
 21 Time Life Films, 784 F.2d 44, 50 (2d Cir. 1986) (“[T]he works themselves, not
 22 descriptions or impressions of them, are the real test for claims of infringement.”).
 23            Plaintiff attempts to limit the Court’s analysis by alleging infringement in
 24 only the first three episodes of Servant and suggesting that the latter seven episodes
 25 merely add “self-contained vignettes or sub-plots.” Compl. ¶¶ 78, 83 n.11. In fact,
 26 each of the ten episodes reveals crucial information about characters and events
 27 from the first three episodes, for example how Jericho died and why Leanne applied
 28 for a position with the Turners. The complaint’s own allegations also extend

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  1 beyond the first three episodes. See RJN § 1. Regardless of whether the Court
  2 reviews three or ten episodes, however, there is no substantial similarity of
  3 protected expression between Emanuel and Servant (or any part of Servant).
  4 Notably, in alleging infringement in only three episodes of Servant, Plaintiff herself
  5 concedes that most of the series is completely different than Emanuel.
  6            1.        Plot
  7                      a.       Most of the Alleged Plot Similarities Are Unprotectable.
  8            Most of the alleged similarities between the works’ plots are unprotectable
  9 concepts, scenes a faire, and generic elements in film and television.
 10            First, many alleged similarities flow from both works featuring a new
 11 mother, including having help with the baby, holding a baby, and considering her
 12 body. See Compl. ¶ 74. Other alleged similarities flow from the unprotectable
 13 premise of hiring a babysitter or nanny. For example, people who have the
 14 resources to hire help are often “privileged,” a mother first meeting a nanny or
 15 babysitter would normally ask “get to know you” questions, and a nanny or
 16 babysitter in a new home will look around. Id.
 17            Second, a grieving mother using a reborn doll to cope with losing a child is an
 18 unprotectable idea, particularly as it is a real therapy. See, e.g., RJN § 2. See also
 19 Compl. ¶ 68 n.7 (conceding that a “mother so traumatized by her baby’s death that
 20 she cares for a doll she believes to be her real baby” is a “basic premise”).
 21 Numerous alleged similarities flow from this premise. For example, reborn dolls
 22 are designed to be lifelike, and thus it naturally flows that the dolls would be
 23 “physically realistic.” Id. ¶ 68. In works where a grieving mother treats a doll as
 24 her baby, it is unsurprising that others would stop pretending the doll was real when
 25 the mother was gone (id. ¶ 74). Such works also would naturally have moments
 26 where the mother’s delusion seems to fade. Id.
 27            Third, the concept of parents treating a doll as their child has been explored
 28 in many works, from film and television to video games and comic books. See RJN

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  1 § 3.a. In the 2016 film The Boy, for example, a young American woman becomes a
  2 nanny to a wealthy couple’s young son, who the nanny soon learns is actually a doll
  3 that the couple treats as their son (after their real son’s apparent death years earlier).
  4 See id. Or in the 2009 to 2011 television series Psychoville, a character treats a doll
  5 as her child while her husband is forced to pretend that the doll is real. Id. The
  6 concept is so often explored that it has its own entry on the website “TV Tropes,”
  7 which catalogs tropes in entertainment. See “Baby-Doll Baby,”
  8 https://tvtropes.org/pmwiki/pmwiki.php/Main/BabyDollBaby (“This trope is when
  9 a mother, in a delusion, thinks that a doll is her child.”).
 10            Fourth, beyond these scenes a faire, the complaint alleges numerous
 11 similarities that consist of ubiquitous elements from film and television. The
 12 complaint even contains side-by-side comparisons that only serve to highlight the
 13 complaint’s misplaced reliance on such unprotectable elements, including a woman
 14 holding a doll (Compl. ¶ 5), a woman walking down a staircase (id. ¶ 7), a woman
 15 underwater (id. ¶ 9), or, incredibly, a character “looking into the camera” (id. ¶ 76).
 16                      b.       The Complaint Mischaracterizes Alleged Plot Similarities.
 17            Many of the remaining similarities in the complaint’s section on plot are
 18 mischaracterizations of one or both of the works at issue.
 19            As one example, Plaintiff alleges that the dolls in both works “come back to
 20 life”—using quotes around “come back to life” because the doll in Emanuel does
 21 not, in fact, come back to life. Compl. ¶¶ 68, 74. Instead, there is a “notable and
 22 extended scene” in which Emanuel faints in the nursery and has a vision in which
 23 the room fills up with water. Compl. ¶ 74. In this dream sequence, a real baby
 24 takes the place of the doll and swims to Emanuel’s deceased mother. Id. & Dkt. 13
 25 at 1:12:42. The baby is shown for approximately 15 seconds and does not leave the
 26 audience wondering whether the doll is alive—it is clear the baby was “alive” only
 27 in Emanuel’s vision. Id. In Servant, on the other hand, the doll is replaced with a
 28 living, breathing infant in the first episode, and stays that way most of the season.

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  1 See Ex. 1 at 34:08. In fact, this is the defining plot device of Servant, and the
  2 storylines and characters all flow from this foundational creative choice. Moreover,
  3 a doll coming to life is hardly a new concept, having been explored in countless
  4 works, from the classic 1883 children’s novel Pinocchio to last year’s remake of
  5 Child’s Play. Plaintiff also alleges that this water-filled scene is similar to a scene
  6 in which “the nanny in Servant is shown underwater, but with a natural face.”
  7 Compl. ¶ 74. In reality, the nanny in Servant takes a bath and dunks her head under
  8 the water for 7 seconds. Ex. 2 at 6:13. That is the extent of the alleged similarity.
  9            The complaint also alleges that Leanne in Servant, like Emanuel in Emanuel,
 10 “very quickly realizes the mother truly believes the doll to be real, and decides to
 11 play along with the delusion.” Compl. ¶ 74. This is not true in Emanuel; there are a
 12 number of scenes in Linda’s house before Emanuel discovers the doll. E.g., Dkt. 13
 13 at 9:22, 14:45. Emanuel also does not immediately play along with the decision; at
 14 first, she is bewildered and hesitant. Id. at 21:00. This alleged similarity also is
 15 untrue in Servant, in which Leanne treats the doll as real and never seems to be
 16 pretending. Similarly, the complaint alleges that in both works the “nanny’s mother
 17 has left a hole in her life that her relationship begins to fill—in a way that
 18 complements the hole in the mother’s life caused by the death of her baby.” Compl.
 19 ¶ 74. Again, this is true for Emanuel, but untrue for Servant, in which Leanne never
 20 expresses any longing for either of her parents, and Dorothy often treats Leanne as
 21 an employee, not like a daughter.
 22                      c.       The Works’ Plots Are Not Substantially Similar.
 23            Once unprotectable elements are removed, the works have different storylines
 24 and lack similarity in their “actual concrete” plot elements. Berkic v. Crichton, 761
 25 F.2d 1289, 1293 (9th Cir. 1985); Funky Films, 462 F.3d at 1077-1078.5
 26
 27            5
            If this lawsuit survives dismissal, Defendants will show that Mr. Basgallop
 28 independently conceived of what became Servant years before Emanuel was
    released, and that many of the allegedly copied elements predate Plaintiff’s film.
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  1            Emanuel follows a normal teenager struggling to cope with the guilt of
  2 knowing that her mother died giving birth to her. The audience learns all about
  3 Emanuel from the start; indeed, some of the first words in the film are Emanuel
  4 telling the audience that she killed her mother. Dkt. 13 at 1:00. Emanuel works at a
  5 medical supply store, lives with her father and stepmother, and begins to babysit for
  6 a new next-door neighbor Linda, who “bears a striking resemblance” to Emanuel’s
  7 deceased mother. Id. (DVD back cover). When Emanuel first encounters Linda’s
  8 therapy doll, she is stunned and initially does not play along. Id. at 21:00. She
  9 ultimately treats the doll as a child in front of Linda, but generally not when Linda
 10 is gone. Emanuel even drops and pushes the doll across the floor with her foot at
 11 one point (id. at 32:50), in contrast to Leanne, who never treats the doll any
 12 differently than she would a baby. When Linda brings home a date (Arthur) and
 13 Arthur refuses to pretend the doll is a child, Linda’s delusion is shattered, and
 14 Emanuel suffers her own breakdown. Id. at 1:08:05. The film ends with Emanuel
 15 breaking Linda out of a mental institution and taking her to bury the doll next to
 16 Emanuel’s mother’s grave, each experiencing her own catharsis. Id. at 1:21:00.
 17            Servant tells an entirely different story. In Servant, an old-money couple
 18 hires a full-time, live-in nanny (Leanne) for their baby son, which is a therapy doll
 19 given to the mother (Dorothy) to cope with her son’s death. From the beginning of
 20 the series, Leanne is portrayed as possibly other-worldly. The audience is shown
 21 upfront that she is a seemingly paranormal, self-flagellating, deeply religious
 22 teenager, and the rest of the season is spent puzzling over who she is. Leanne
 23 always treats the doll as a real baby, holding it, singing to it, or taking it on walks,
 24 regardless of whether anyone is around. E.g., Ex. 1 at 13:11, 17:17, 29:01. She
 25 also has no reaction when the doll becomes a baby: she treats the doll and the baby
 26 exactly the same without expressing any surprise when the doll becomes a baby,
 27 leaving the audience to wonder whether she brought the doll to life and leaving
 28 other characters wondering what, if anything, should be done about it. Lastly,

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  1 Leanne seems to use paranormal powers to inflict harm on the couple whenever she
  2 is angry with them, especially Sean, who loses his senses of taste, smell, and touch.
  3            There are numerous other differences between the plots of the works.
  4 Emanuel is portrayed from Emanuel’s perspective—indeed, the film starts with her
  5 voiceover. In Servant, the perspective is the opposite, as the series explores who (or
  6 what) Leanne is and where she came from. Unlike in Emanuel, in which the doll is
  7 an unexpected “twist,” in Servant the existence of the doll is not hidden and is fully
  8 explained in the trailer. See RJN § 1. In addition, in Servant the doll is replaced by
  9 a real baby at the end of the first episode, whereas in Emanuel it remains a doll until
 10 it is ultimately buried at the end. Also unlike Emanuel, in Servant there is no
 11 moment where the mother is “found out.” While Emanuel attempts to prevent
 12 others from discovering the doll, Leanne seems to have no awareness of anything
 13 amiss, and takes it out in public. E.g., Ex. 1 at 17:17. And unlike the cathartic end
 14 of Emanuel, Servant’s first season ends with uncertainty and suspense—Leanne
 15 seemingly turns the baby back into a doll and rejoins her cult, the private
 16 investigator looking into Leanne disappears, and Dorothy possibly realizes that the
 17 doll is no longer her baby. See Ex. 10. Unlike in Emanuel, there is no catharsis and
 18 certainly no peace at any point in Servant.
 19            2.        Sequence of Events
 20            Plaintiff alleges that Emanuel and Servant “each unfolds in a roughly linear
 21 chronology,” Compl. ¶ 75, which is not something that is protectable. Even if that
 22 were protectable, only Emanuel unfolds in a linear chronology. Servant, by
 23 contrast, jumps back and forth through time throughout the entire season, showing
 24 various incidents from the past to explain events in the present.
 25            The other alleged similarities in sequence of events consist of several discrete
 26 scenes that are unrelated to the overall sequence of events of the works. Moreover,
 27 those alleged similarities are unprotectable and also portrayed differently in the
 28 works. For example, Plaintiff alleges that “both works include an awkward

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  1 interview scene” (id.), but a parent asking a new caregiver questions flows from the
  2 unprotectable concept of hiring a babysitter or nanny. Regardless, in Servant,
  3 Leanne arrives at the Turners’ home in the first scene of the first episode with her
  4 suitcase in hand. Ex. 1 at 1:34. She is not coming to an interview; she has already
  5 been hired. In Emanuel, Linda also does not “interview” Emanuel, but instead asks
  6 her a few questions before leaving her with the “baby.” Dkt. 13 at 9:40.
  7            Similarly, Plaintiff alleges that at some point following the “interviews,” the
  8 “nanny” and mother are “shown alternatively in solitary moments—but with a
  9 strong sense that they are connected during those moments.” Compl. ¶ 75. But
 10 characters experiencing “solitary moments” is not a protectable sequence of events.
 11 Regardless, the scene in Servant that Plaintiff references is one in which Leanne and
 12 Dorothy are shown in their respective bathtubs (id.)—Dorothy in her spacious
 13 bathroom in a large bathtub with jets and Leanne in her smaller tub with plain tile
 14 and water-damaged ceiling (Ex. 1 at 10:38)—whereas in Emanuel, Emanuel is
 15 watching Linda and her “baby” from across the street (to demonstrate Emanuel’s
 16 growing fascination with Linda). Dkt. 13 at 12:01.
 17            Plaintiff also alleges that the works have a similar sequence of events because
 18 there is a scene in both in which the mother applies makeup, and then the “nanny”
 19 does the same after the mother leaves, Compl. ¶ 75, but this concept has been
 20 explored in countless other works. Likewise, Plaintiff alleges that in both works the
 21 “nanny faints under stress” and regains consciousness to the sight of concerned
 22 faces, id., which is another frequently portrayed concept. Moreover, while Emanuel
 23 faints “under stress” after being accused of taking Linda’s baby (Dkt. 13 at
 24 1:09:52), Leanne does not faint “under stress,” but rather after watching Sean
 25 brutally kill an eel in preparation for an exotic dish (Ex. 3 at 6:31).
 26            3.        Theme
 27            “A work’s theme is its overarching message,” and “there is no protection for
 28 stock themes or themes that flow necessarily from a basic premise.” Silas v. Home

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  1 Box Office, 201 F. Supp. 3d 1158, 1180 (C.D. Cal. 2016), aff’d, 713 Fed. Appx. 626
  2 (9th Cir. 2018). Plaintiff alleges that both Emanuel and Servant include themes like
  3 “[t]he unspeakable grief of losing a baby,” “[d]enial and self-delusion as a means of
  4 avoiding grief,” and “[t]he dangers of shared delusion,” including “[t]he safety,
  5 sanctity and comfort of home—and the obverse dangers of the outside world.”
  6 Compl. ¶ 62. Beyond the fact that these themes are extremely broad and encompass
  7 innumerable works, they flow naturally from the unprotectable premise of a mother
  8 treating a therapy doll as if it were her baby and thus must be filtered out before
  9 comparing the works’ themes.
 10            The primary themes in Emanuel and Servant, beyond grief and delusion, are
 11 drastically different. As Plaintiff alleges, Emanuel is an “emotional story about
 12 motherhood and daughterhood,” culminating in its two main characters finding
 13 peace with their grief. Compl. ¶ 10. It explores the pain of a teenager who never
 14 knew her mother and intense guilt for (she believes) causing her mother’s death,
 15 and a mother who feels grief and guilt for the loss of her only child. The film also
 16 examines what it means to be a family, including exploring stepfamily bonds as
 17 Emanuel shuts down her stepmother’s attempt at a relationship at every turn, while
 18 instead opening herself up to Linda. Ultimately, Emanuel is hopeful and positive,
 19 exploring themes such as forgiveness, healing, acceptance, and redemption.
 20            Servant’s primary theme is very different, and much darker (literally and
 21 metaphorically). In Servant, little is known of Leanne’s past and she does not
 22 express any longing for her parents. The series walks the line between thriller and
 23 horror, with Leanne’s seemingly paranormal powers front and center, as she
 24 appears to bring a doll to life and to punish Sean and Dorothy when she finds them
 25 undeserving of her assistance. E.g., Ex. 5 at 14:00, 21:25. Servant also explores
 26 themes such as wealth (expensive wines, gourmet food) juxtaposed with the
 27 treatment of those without such privilege, as the title of the series suggests. Lastly,
 28

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  1 no character in Servant finds redemption or acceptance like in Emanuel. Instead,
  2 Servant is just the opposite: there is no peace for any character.
  3            Notably, Plaintiff alleges that Emanuel explores themes such as the
  4 complexity of the mother/daughter bond and maternal longing, and contends that it
  5 is the first film to “explore maternal longing by examining its delusional
  6 misplacement, while also studying a daughter’s misplaced longings for her mother.”
  7 Compl. ¶ 63. But Plaintiff concedes that Servant does not explore these and similar
  8 themes by claiming that Servant is an “utter bastardization” of Emanuel that
  9 completely “miss[es] the female perspective.” Compl. ¶ 13.
 10            4.        Characters
 11            “In determining whether characters are similar, a court looks at the totality of
 12 the characters’ attributes and traits as well as the extent to which the defendants’
 13 characters capture the total concept and feel of the figures in the plaintiff’s work.”
 14 Shame on You Prods., 120 F. Supp. 3d at 1165 (internal brackets omitted). Even
 15 some shared traits between characters are not enough to prove substantial similarity
 16 when the characters “have noticeable differences.” Silas, 201 F. Supp. 3d at 1177.
 17                      a.       Emanuel and Leanne
 18            The complaint repeatedly compares the nanny in Servant to the “nanny” in
 19 Emanuel. But the title character in Emanuel is not a nanny—she lives with her
 20 family next door, has a day job, and simply babysits a few times for her neighbor.
 21 In the film, Emanuel’s stepmother expressly tells Emanuel that Linda was “looking
 22 for a babysitter” (Dkt. 13 at 7:55) (emphasis added), and Plaintiff’s own website
 23 describes Emanuel as offering “to babysit.”6
 24            Emanuel is a quintessential teenager who is struggling to cope with the loss
 25 of her mother who died in childbirth and to coexist with her stepmother (while also
 26
 27
               6
 28           See https://www.francescagregorini.com/features/the-truth-about-emanuel/
      (describing Emanuel’s plot: “Emanuel offers to babysit [Linda’s] newborn”).
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  1 trying to push her buttons). Her brash, acerbic wit is on display any time she is in a
  2 crowd, including, for example, when she lies to train passengers to get them to give
  3 up their seats, or riles up her stepmother during a family dinner. Dkt. 13 at 3:37,
  4 8:37. In contrast, Leanne in Servant is a live-in nanny to Dorothy and Sean,
  5 routinely demeaned by them both. They refer to her as “staff” (Ex. 1 at 5:08, Ex. 2
  6 at 23:25), convince her to spend her meager earnings on shoes that Dorothy
  7 immediately asks to borrow (Ex. 3 at 15:04), and even send her out in a
  8 thunderstorm on a fool’s errand so they can be intimate (Ex. 5 at 12:18).
  9            Emanuel and Leanne are almost nothing alike. Unlike Emanuel, Leanne is
 10 quiet and deferential—the “servant.” Unlike Emanuel, Leanne appears to have
 11 paranormal powers she uses to punish or reward the Turners depending on their
 12 behavior toward her, including the apparent power to create life. Leanne is deeply
 13 involved in her religion and whips herself. E.g., Ex. 1 at 11:36, Ex. 5 at 30:01. In
 14 contrast to Emanuel and Linda’s tender relationship in Emanuel, Leanne has a
 15 complicated relationship with Dorothy in Servant, at times seeming obsessed with
 16 her (and wanting to be her) and other times torturing her, such as repeatedly setting
 17 off her car alarm once Leanne found out that Jericho died in the car. Ex. 9 at 22:25.
 18 Emanuel understands that Linda is suffering from a delusion and pretends for her
 19 sake that her doll is real, while attempting to prevent anyone else from discovering
 20 the doll. Leanne, on the other hand, treats the doll as real and does not make any
 21 attempt to prevent others from seeing the doll. E.g., Ex. 1 at 17:17. Also, in
 22 Servant, Leanne did not find the Turners through “happenstance,” Compl. ¶ 74, but
 23 instead targeted them based on her childhood meeting of and interest in Dorothy.
 24 Ex. 4 at 30:42.
 25            Beyond a few generic and unprotectable traits shared by Emanuel and
 26 Leanne, they could hardly be more different. Emanuel is the epitome of a teenager,
 27 who is also grappling with the loss of her mother and related guilt. Leanne is a
 28 paranormal cult member who can seemingly cause physical harm to those who

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  1 cross her (and seemingly can resurrect the dead). The contention that Emanuel and
  2 Leanne are “extraordinarily similar,” Compl. ¶ 66, is belied by even the most
  3 cursory review of the works at issue.
  4                      b.       Linda and Dorothy
  5            Nor are Linda and Dorothy similar. As explained above, the concept of a
  6 mother using a reborn doll as a therapeutic tool to cope with the grief of losing a
  7 child is not protectable. The similarities between the characters flow naturally from
  8 that premise, including their bouts of delusion. Their confidence is a byproduct of
  9 fighting to keep that delusion alive, as is their turn as “affectionate and doting
 10 mothers.” Compl. ¶ 67. And that women wealthy enough to hire help for dolls
 11 would be “in their mid-thirties,” “sophisticated,” “privileged,” and “stylish in their
 12 clothing and home décor” is no surprise, and those similarities are too ubiquitous to
 13 merit protection. Id. See also Shame on You Prods., 120 F. Supp. 3d at 1165.
 14            Plaintiff mischaracterizes various “similarities” between Linda and Dorothy.
 15 She describes both as holding a “displaced maternal longing” that each “channel[s]
 16 not only into a reborn doll, but also into the nanny,” and alleges “there is an
 17 unspoken, perhaps unconscious sexual longing that seems to be fulfilled only by the
 18 nanny.” Compl. ¶ 67. This may be true of Linda in Emanuel, but not of Dorothy in
 19 Servant. Dorothy does not channel “displaced maternal longing” into Leanne. Id.
 20 For example, she takes Leanne shopping and convinces her to buy new shoes, and
 21 as soon as they are back home, Dorothy manipulates Leanne into lending them to
 22 her. Ex. 3 at 15:04. And the one moment between Dorothy and Leanne that the
 23 complaint describes as being erotic (Compl. ¶ 74) is not: Leanne helps Dorothy to
 24 relieve her painful mastitis. Ex. 1 at 29:30.
 25            Linda is a grieving mother who ran away from her husband to start a new life
 26 where no one knows of her loss. She is not an “effervescent, ‘type A’ personality”
 27 (Compl. ¶ 67), but instead is laid-back, calm, and warm. She does not seem to have
 28 a job, instead tending to her garden and home, and spending time with Emanuel.

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  1 Servant, on the other hand, is set in motion due to Dorothy’s desire to return to her
  2 job as an on-air reporter. She hires Leanne to watch her “child” while she works,
  3 and the news segments she creates provide key plot and mood moments in the show
  4 (as well as being revealed as a reason Leanne targeted the Turners). Dorothy does
  5 all this with the (at times begrudging) support of her husband and brother. Overall,
  6 beyond the shared unprotectable concepts in both works, there are many “noticeable
  7 differences” between Linda and Dorothy, who are not substantially similar. See
  8 Silas, 201 F. Supp. 3d at 1177.
  9                      c.       Thomas and Sean
 10            Plaintiff alleges that the father in Emanuel, Thomas, is similar to the father in
 11 Servant, Sean, because both explain how their child died and how their wife came
 12 to use a doll. Compl. ¶ 69. That is no surprise: who better to understand the
 13 situation, or to convey that, than the other parent. More importantly, this is the
 14 extent of the similarities between the characters. In fact, there is nothing more to
 15 Thomas at all—he appears in a single scene in Emanuel near the end of the film and
 16 we learn almost nothing about him. Sean, on the other hand, is a vital, fully
 17 developed character in every episode of Servant, and his interactions with Leanne
 18 are central the story. Compare Dkt. 13 at 1:18:30 with Exs. 1-10. See Shame on
 19 You Prods., 120 F. Supp. 3d at 1164 (only “distinctive characters are protectable”).
 20                      d.       Arthur and Julian
 21            Plaintiff overstates Arthur (in Emanuel) and Julian (in Servant) as
 22 “antagonists” (Compl. ¶ 72) and just like with Thomas and Sean, compares a
 23 secondary character in Emanuel with a central character in Servant.
 24            Arthur is a nerdy, shy, “professorial” (Compl. ¶ 72) man who works with
 25 Emanuel. Arthur takes Linda on a date (to Emanuel’s displeasure) and comes back
 26 to Linda’s home to meet the baby (something Emanuel repeatedly attempts to
 27 prevent). When Arthur discovers the child is actually a doll, he refuses to play
 28 along, sending Linda into a spiral as she finally confronts her loss. As Arthur was

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  1 told Emanuel was babysitting, he initially blames Emanuel for the mishap and
  2 begins to frantically search for the “missing” child. Dkt. 13 at 1:08:50.
  3            In Servant, Julian is a devoted brother to Dorothy, and knows from the start
  4 about how Jericho died (in fact, he discovers Jericho’s body in the midst of
  5 Dorothy’s delusion). Ex. 1 at 16:22, Ex. 8 at 22:57. Crass and constantly drinking,
  6 he mistrusts Leanne and spends significant resources looking into her background,
  7 even flying to her hometown with a private investigator. Ex. 3 at 8:31. As with the
  8 other main characters, Arthur and Julian’s many “noticeable differences” cut
  9 against a finding of substantial similarity. Silas, 201 F. Supp. 3d at 1177.
 10                      e.       Claude and Tobe
 11            Plaintiff contends that Claude and Tobe are Emanuel and Leanne’s “love
 12 interests,” Compl. ¶ 71, but this grossly oversimplifies these characters.
 13            Claude is Emanuel’s boyfriend. In Emanuel, he meets Emanuel on a train
 14 and they see who can come up with a more outlandish story to get a stranger to give
 15 up their seat. E.g., Dkt. 13 at 8:37, 26:06. Claude is happy to date Emanuel, but
 16 like any couple they go through their ups (talking and kissing by the lake) and
 17 downs (fighting over Emanuel’s relationship with Linda). The couple’s evolving
 18 relationship is one of the central storylines of Emanuel.
 19            Tobe is Sean’s assistant chef and highlights one of the themes of Servant,
 20 namely, the treatment of the less privileged by those with more. At one point, Tobe
 21 cooks dinner with Leanne (because he is stuck at the house, having accepted $100
 22 from Sean to stay there). Ex. 3 at 18:51. Later in the season, Tobe and Leanne go
 23 bowling, and when she tries to kiss him afterward, he recoils and rejects her
 24 advance. Ex. 8 at 16:00. That is the extent of their “romantic” interlude. Compl.
 25 ¶ 71. Moreover, even if Plaintiff’s description of both characters as “timid, shy,
 26 sexually immature, and diminutive” were accurate (it is not), those are generic traits
 27 that are not protectable. Compl. ¶ 71.
 28

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  1                      f.       The Dolls
  2            The complaint alleges that the dolls in Emanuel and Servant are “physically
  3 realistic” and “ultra-lifelike,” Compl. ¶ 68, but this is an unprotectable concept. In
  4 fact, the entry on the TV Tropes website about the “trope” in which “a mother, in a
  5 delusion, thinks that a doll is her child” specifically refers to “the famous Reborn
  6 line” of dolls. See https://tvtropes.org/pmwiki/pmwiki.php/Main/BabyDollBaby.
  7 The dolls also are not “almost identical” as Plaintiff contends: one is a boy and one
  8 is a girl, with features and clothing that would be expected of a realistic doll.
  9                      g.       Other Characters
 10            Plaintiff fails to mention other characters in both Emanuel and Servant. This
 11 includes Emanuel’s father, who Emanuel lives with and is close with. It is through
 12 him that we learn about Emanuel’s mother and explore Emanuel’s themes of losing
 13 a spouse and raising a child as a single parent. Nor does Plaintiff mention
 14 Emanuel’s stepmother (or the theme in Emanuel of adjusting to new family
 15 relationships). Plaintiff also does not mention Roscoe, the private investigator who
 16 is looking into Leanne’s past (and who was possibly kidnapped or killed for that).
 17 Nor does she mention the other characters that are introduced later in the season,
 18 including Leanne’s Aunt May and Uncle George, Dorothy’s therapist Natalie,
 19 Dorothy and Julian’s father Todd, and Wanda (who Julian hired to spy on Leanne).
 20            5.        Setting
 21            Most of the alleged similarities in setting flow from the premise of a new
 22 mother, hiring a babysitter or nanny, or using a therapy doll to cope with the loss of
 23 a child, none of which are protectable. See, e.g., Benay, 607 F.3d at 627-628
 24 (finding that given the works’ shared, unprotectable premise of “an American war
 25 veteran who travels to Japan to help the Emperor fight a samurai rebellion,” it was
 26 “not surprising” that the works shared settings like “a scene of the protagonist
 27 sailing into Japan, scenes in the Imperial Palace, scenes on the Imperial Army’s
 28 training grounds, and battle scenes in various places in Japan”). Here, it makes

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  1 sense that someone wealthy enough to hire help would live in an upscale house.
  2 Compl. ¶ 64. And when a nanny lives in the same house with her employers, as in
  3 Servant, it naturally follows that she would see various goings on in the home. Id.
  4            Beyond the scenes a faire, Plaintiff points to generic elements as evidence of
  5 copying, from having a staircase “overlooking the first floor” to a nursery with
  6 “old-fashioned cribs,” rocking horses, and even “striped wallpaper,” to having
  7 “family dinners.” Compl. ¶ 64. These elements are not protectable, and even if
  8 they were, they have been used in countless works before Emanuel.
  9            Plaintiff also mischaracterizes purported similarities between settings. In
 10 particular, she highlights that each work features a trip to Leanne’s or Emanuel’s
 11 mother’s grave, Compl. ¶ 64, but these scenes are incredibly different. In Emanuel,
 12 Emanuel takes Linda to visit Emanuel’s mother’s grave, which Emanuel had never
 13 visited, and digs a hole in which to bury Linda’s doll. Dkt. 13 at 1:26:21. The trip
 14 to the grave is film’s climax, and comes with emotional significance for both
 15 Emanuel and Linda as they seemingly come to terms with their losses. In Servant,
 16 Julian and a private investigator travel to the Midwest to track down information
 17 about Leanne. Julian uncovers remnants of Leanne’s family home (which burned
 18 down), and then discovers not only Leanne’s parents’ graves, but also Leanne’s
 19 grave. Ex. 3 at 26:12. Thus, while there is technically a grave visit in each work,
 20 they are expressed quite differently and have an extremely different significance to
 21 each work. Moreover, scenes taking place at a grave are hardly unique.
 22            The works’ other settings are also very different. In Emanuel, the story takes
 23 place in numerous locations, including Emanuel’s home, Linda’s home, the train,
 24 her work, a market, a lake, and the institution where Linda is kept following her
 25 breakdown. In Servant, almost all of the action takes place in and around the house.
 26 When other settings are shown, they are generally seen through a screen at the
 27 Turners’ residence.
 28

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  1            6.        Mood
  2            Plaintiff alleges that both Emanuel and Servant are psychological thrillers
  3 and, accordingly, are “tense throughout,” invoking “heightened feelings of
  4 suspense, excitement, surprise, anticipation, and anxiety.” Compl. ¶ 76. But these
  5 moods are ubiquitous. See Fillmore, 2017 WL 4708018, at *8 (even where both
  6 works contain “suspenseful and serious” moods, “general suspense is not
  7 protectable expression and cannot establish the extrinsic similarity necessary to
  8 support a copyright infringement claim”). In fact, Plaintiff even acknowledges that
  9 in creating tension in her film, she “uses the cinematic vernacular of classic
 10 suspense, including camera angles, lighting, music, and pace.” Compl. ¶ 7.
 11            In an attempt to plead more than unprotectable similarities, Plaintiff falsely
 12 alleges that both works employ “magical realism.” Id. ¶ 4. In Emanuel, Emanuel
 13 often has visions of water rushing into wherever she is, be it on a train or in a
 14 bedroom, but the audience knows that the visions are not actually happening—e.g.,
 15 the train and the bedroom did not actually fill with water. E.g., Dkt. 13 at 24:39. In
 16 contrast, in Servant, Leanne’s potentially supernatural powers are presented as real.
 17 Sean really loses his sense of taste and smell and really pulls out a splinter from his
 18 throat. Ex. 2 at 28:11. A doll is presented as turning into a real baby, and then back
 19 again. Ex. 1 at 34:10, Ex. 8 at 9:15. Somehow, after Leanne notices them, a dead
 20 cricket and a dead dog are each brought back to life. Ex. 5 at 30:59, Ex. 7 at 28:02.
 21 These are not fantastical visions; they are actual events in Servant.
 22            Beyond generic elements, Emanuel and Servant have drastically different
 23 moods. Emanuel largely focuses on each of its main characters’ grief and their
 24 attempts to cope with that grief. It is, at its core, a story of healing. In contrast,
 25 Servant is creepy, and of course suspenseful. Plaintiff contends that the works’
 26 reliance on food contributes to a similar mood, Compl. ¶ 76, but this an
 27 exaggeration. In Emanuel, there are several family dinners, whereas in Servant,
 28 food plays a pervasive role throughout the series. Specifically, beyond Sean’s

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  1 profession as a chef and the significance of his lost taste and smell, the preparation
  2 and consumption of exotic foods highlight the Turners’ wealth and privilege,
  3 particularly as compared to what Leanne eats (tomato soup, every day). Lastly,
  4 there is no mood of healing or positivity in Servant, as there is in Emanuel.
  5            7.        Pace
  6            Plaintiff contends only that “[b]oth works proceed at a rapid pace. In each,
  7 the characters can barely keep up with events as they unfold.” Compl. ¶ 76. As an
  8 initial matter, having a rapid pace is hardly protectable. See id. ¶ 7 (acknowledging
  9 that the pace she used was part of the “cinematic vernacular of classic suspense”).
 10 Moreover, this is not an accurate characterization of either work. In Emanuel, there
 11 are numerous periods of calm, such as during family dinners, gardening, Emanuel
 12 and Claude’s night sitting by a lake and sharing wine, and Emanuel and Linda’s
 13 scene in which they come to terms with their losses and gaze peacefully at the stars.
 14 In Servant, on the other hand, the pace quickens toward the ultimate, chaotic end, in
 15 which Leanne seemingly leaves, the baby appears to be a doll again, Roscoe
 16 disappears, Sean loses the ability to feel, and Dorothy possibly realizes that the doll
 17 is not her baby. Ex. 10.
 18            8.        Dialogue
 19            Copyright law does not protect “fragmentary words and phrases.” Stern v.
 20 Does, 978 F. Supp. 2d 1031, 1040 (C.D. Cal. 2011), aff’d sub nom., Stern v.
 21 Weinstein, 512 F. App’x 701 (9th Cir. 2013). Accordingly, “for a plaintiff to
 22 demonstrate substantial similarity of dialogue, it must show ‘extended similarity of
 23 dialogue.’” Silas, 201 F. Supp. 3d at 1181 (quoting Olson v. Nat’l Broad. Co., 855
 24 F.2d 1446, 1450 (9th Cir. 1988)). See also Gallagher v. Lions Gate Entm’t, 2015
 25 WL 12481504, at *10 (C.D. Cal. Sept. 11, 2015) (three instances of similar
 26 dialogue could not demonstrate “extended similarity”).
 27            Here, Plaintiff’s dialogue allegations are largely duplicative of her plot
 28 allegations. For example, she alleges that in both works, “the mother gives baby-

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  1 care direction in extremely realistic terms” (Compl. ¶ 77), but does not allege any
  2 specific dialogue shared between the works. The sole overlapping piece of dialogue
  3 alleged in her complaint is that Emanuel and Leanne each say to Linda and
  4 Dorothy, “you look beautiful.” Id. Leanne does not actually say that, and even if
  5 she did, a single instance of allegedly shared dialogue—a generic phrase—is not
  6 remotely enough to find that Emanuel and Servant contain the “extended similarity
  7 of dialogue” necessary to find substantial similarity. E.g., Silas, 201 F. Supp. 3d at
  8 1181 (one instance of similar dialogue insufficient to show substantial similarity).
  9 D.         Plaintiff’s Claim for Vicarious and Contributory Infringement Fails
 10            Because Plaintiff’s claim for direct infringement fails, her claim for
 11 contributory and vicarious infringement also fails. See Fox Broad. Co. v. Dish
 12 Network, 747 F.3d 1060, 1068 (9th Cir. 2014) (“Secondary liability for copyright
 13 infringement does not exist in the absence of direct infringement by a third party.”).
 14                                           CONCLUSION
 15            Emanuel and Servant are not substantially similar. Once unprotectable
 16 elements are disregarded, the works’ plot, sequence of events, themes, characters,
 17 setting, mood, pace, and dialogue are different, and Plaintiff’s cherry-picking of
 18 unprotectable elements or generic details does not enable her to survive dismissal.
 19 Plaintiff’s claims should be dismissed with prejudice. See Silas, 201 F. Supp. 3d at
 20 1184 (dismissing complaint with prejudice where the works were “not extrinsically
 21 similar and no amendment could possibly cure that defect in Plaintiffs’ case”).
 22
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